EXHIBIT 1
                         U. S. ELECTION ASSISTANCE COMMISSION
                         VOTING SYSTEM TESTING AND CERTIFICATION PROGRAM
                         1335 East West Highway, Suite 4300
                         Silver Spring, MD 20910




October 9, 2020                                                            Sent via e-mail

Ian Piper, Certification Director
Dominion Voting Systems
1201 18th Street, Suite 210
Denver, CO, 80202

Re: DVS ECO 100714

Dear Mr. Piper,

This correspondence is to inform you that DVS ECO 100714 is approved.


Sincerely,




Jerome Lovato
Director, Voting System Testing and Certification


Cc: Pro V&V
